                                                               Case 5:20-mc-00024-JGB-SP Document 1 Filed 10/06/20 Page 1 of 15 Page ID #:1



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                                                                6

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                                                                8                           UNITED STATES DISTRICT COURT
                                                                9                         CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                    EASTERN DIVISION
                                                               11 INTERIOR ELECTRIC                        Case No.:
MARQUIS AURBACH COFFING




                                                                  INCORPORATED NEVADA, a
                                                               12 Nevada corporation,               MOVANT INTERIOR ELECTRIC
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                    INCORPORATED NEVADA’S NOTICE OF
                                                               13                         Movant, MOTION AND MOTION TO COMPEL
                                Las Vegas, Nevada 89145




                                                                                                    COMPLIANCE WITH RULE 45
                                  10001 Park Run Drive




                                                               14        vs.                        SUBPOENAS DUCES TECUM AND FOR
                                                                                                    ATTORNEY FEES; MEMORANDUM OF
                                                               15   MELINDA BEVERLY; and SCHIFF & POINTS AND AUTHORITIES
                                                                    SHELTON, ATTORNEYS AT LAW,
                                                               16                                   Related to Action Pending in the U.S. District
                                                                                                    Court for the District of Nevada, Interior Electric
                                                                                       Respondents. Incorporated
                                                               17                                                 Nevada v. T.W.C. Construction, Inc.
                                                                                                    et al., Case No. 2:18-cv-01118-JAD-VCF
                                                               18                                          Hearing Date:
                                                                                                           Hearing Time:
                                                               19                                          Location:
                                                               20

                                                               21         Movant, Interior Electric Incorporated Nevada (“Movant”), by and through its

                                                               22 attorneys of record, will and hereby moves this Court for an order compelling production of

                                                               23 documents from third parties Melinda Beverly (“Ms. Beverly”) and Schiff & Shelton,

                                                               24 Attorneys at Law (“S & S,” and with Ms. Beverly, the “Subpoenaed Parties”), pursuant to

                                                               25 subpoenas duces tecum properly served under Federal Rule of Civil Procedure (“FRCP”) 45

                                                               26 on January 23, 2020 (the “Subpoenas”), and for attorney fees in having to bring this Motion,
                                                               27 pursuant to FRCP 45(g) and Local Civil Rules (“LR”) 37-4 and 83-7(b). See Declaration of

                                                               28 Chad F. Clement, Esq. in Support of Movant’s Motion to Compel (“Clement Decl.”), at ¶¶
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                                                                1 5–7, attached hereto as Exhibit 1, along with Exhibit 1-1 and Exhibit 1-2 (Subpoenas), and

                                                                2 Exhibit 1-3 thereto (Affidavits of Service).

                                                                3          Pursuant to LR 37-1, counsel for Movant, Collin M. Jayne, Esq. (“Mr. Jayne”),
                                                                4 emailed Ralph Shelton, Esq. (“Mr. Shelton”) on June 8, 2020, in order to confirm

                                                                5 representation of Ms. Beverly by the latter, and on June 11, 2020, Mr. Shelton instructed Mr.

                                                                6 Jayne to call him. See Declaration of Collin M. Jayne, Esq. in Support of Movant’s Motion

                                                                7 to Compel (“Jayne Decl.”), ¶¶ 5–6, attached hereto as Exhibit 2. Despite following Mr.

                                                                8 Shelton’s instruction, Mr. Jayne was unable to reach Mr. Shelton, so the former emailed the

                                                                9 latter to coordinate a telephone call the following week. See id. at ¶¶ 7–8.

                                                               10          After following up via email on June 15, counsel scheduled a meet and confer on
                                                               11 June 18, 2020, in which undersigned counsel and Mr. Jayne for Movant, and Mr. Shelton on
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                                                               12 behalf of the Subpoenaed Parties, participated in a telephonic meet and confer, at which time
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Mr. Shelton acknowledged that Ms. Beverly failed to produce everything responsive in her
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 possession, admitted to possessing responsive documents himself, and committed to

                                                               15 working with Ms. Beverly to produce the remaining documents in the weeks to follow. See

                                                               16 Ex. 1 (Clement Decl.), at ¶¶ 10–11; Ex. 2 (Jayne Decl.), ¶¶ 9–11. On June 29, 2020, having

                                                               17 received no responsive documents, Mr. Jayne attempted, unsuccessfully, to call Mr. Shelton

                                                               18 again, and followed up that call with another email. Ex. 2 (Jayne Decl.), at ¶ 12.

                                                               19          On or about July 8, Mr. Jayne and Mr. Shelton spoke on the phone again, and the
                                                               20 latter explained that Ms. Beverly was almost done gathering documents and needed an

                                                               21 additional week. See id. at ¶ 13. On July 16, Mr. Jayne emailed Mr. Shelton to follow up on

                                                               22 the last call and was told that Ms. Beverly was “basically done” but was not feeling well. Id.

                                                               23 at ¶ 14. Over the weeks that followed, from approximately July 17 – August 3, Mr. Jayne

                                                               24 called Mr. Shelton at least six more times but was unable to reach him. See id. at ¶ 15.

                                                               25 Counsel finally spoke again on or about August 6, 2020, and Mr. Shelton stated that

                                                               26 everything had been compiled, and he was reviewing with an expected production date that
                                                               27 week, and I asked him to just send whatever portion was ready. See id. at ¶¶ 18–19.

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                                                                1          Receiving no response after a full week, Mr. Jayne sent another email to Mr. Shelton
                                                                2 on August 13, 2020, and again on September 1, 2020, addressing the Subpoenaed Parties’

                                                                3 failures to produce the expected documents. See id. at ¶ 20. In the September 1 email, a

                                                                4 deadline was given of September 4, 2020, before Movant intended to pursue court

                                                                5 intervention. See id. Movant’s counsel sent Mr. Shelton a proposed stipulation under

                                                                6 LR 37-2 on September 28, 2020, but the latter failed to respond as required by LR 37-2.2.

                                                                7 See Ex. 1 (Clement Decl.), at ¶ 14; see also Ex. 1-4 (email and joint stipulation).

                                                                8          Thus, Movant’s counsel has attempted repeatedly to resolve this discovery dispute
                                                                9 but was unable to come to a resolution on the issues presented in this motion. See generally

                                                               10 Ex. 1 (Clement Decl.) & Ex. 2 (Jayne Decl.).

                                                               11          Pursuant to LR 45-1, this Motion seeks an order from this Court directing the
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                                                               12 Subpoenaed Parties to comply with the Subpoenas. The Motion will be based on this Notice
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 of Motion and the Memorandum of Points and Authorities, the exhibits hereto, and any oral
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 argument the Court wishes to entertain on the matter.

                                                               15          Dated this 6th day of October, 2020.
                                                               16                                                 Respectfully submitted
                                                               17
                                                                                                                  By /s/ Chad F. Clement
                                                               18                                                    Chad F. Clement, Esq. (CA SBN 271161)
                                                                                                                     MARQUIS AURBACH COFFING
                                                               19                                                    10001 Park Run Drive
                                                                                                                     Las Vegas, Nevada 89145
                                                               20                                                    Attorneys for Movant Interior
                                                                                                                     Electric Incorporated Nevada
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                                  10001 Park Run Drive




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                                                                1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                                2 I.       INTRODUCTION
                                                                3          Movant moves the Court to compel third parties Melinda Beverly (“Ms. Beverly”)
                                                                4 and Schiff & Shelton, Attorneys at Law (“S & S,” and with Ms. Beverly, the “Subpoenaed

                                                                5 Parties”), to produce documents pursuant to the two Subpoenas issued pursuant to FRCP 45,

                                                                6 and directed to and served upon them, both, on January 23, 2020. See Exhibits 1-1 and 1-2.

                                                                7          The underlying litigation is a complex commercial litigation action, with allegations
                                                                8 and claims including, inter alia, (1) breaches of contract and (2) of the implied covenant of

                                                                9 good faith and fair dealing by a general contractor (“TWC”) with whom Movant previously

                                                               10 worked; (3) a claim against the surety bonds for payment of Movant’s mechanic’s liens,

                                                               11 (4) improper withholdings by TWC under the Nevada Revised Statutes (“NRS”); (5) various
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                                                               12 instances of copyright infringement and (6) removal or alteration of copyright management
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 information by TWC, two former “key employees” of Movant (“Baquerizo” and
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 “Anderson”), and others; (7) breach of fiduciary duty by Baquerizo and Anderson;

                                                               15 (8) intentional interference with Movant’s prospective economic advantage by Baquerizo,

                                                               16 Anderson, and the principals of TWC – Matt Ryba (“Ryba”) and Mark Wilmer (“Wilmer”);

                                                               17 (9) misappropriation of Movant’s trade secrets and (10) conversion by Baquerizo, Anderson,

                                                               18 and others; (11) various fraud claims against TWC and others; and (11) various inchoate

                                                               19 offenses for the collective action of the defendants in order to commit unlawful acts in

                                                               20 violation of Nevada and federal law.

                                                               21          This Motion is brought in this Court pursuant to FRCP 45, which requires that
                                                               22 motions to compel compliance with a subpoena be brought in the court for the district where

                                                               23 compliance is required. Although the underlying litigation is pending in the District of

                                                               24 Nevada, the Subpoenaed Parties are understood to legally reside in the Central District of

                                                               25 California. Ex. 1 (Clement Decl.), at ¶ 4.

                                                               26          Ms. Beverly has only responded to the Subpoenas with a minimal and incomplete
                                                               27 production, and S & S has completely refused to produce any documents or substantive

                                                               28 responses. The relevance and benefit of this discovery outweighs any minimal burden or
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                                                                1 expense to the Subpoenaed Parties. Therefore, Movant hereby requests that the Court grant

                                                                2 this Motion and compel production of documents responsive to its Subpoenas to the

                                                                3 Subpoenaed Parties.

                                                                4 II.      STATEMENT OF FACTS AND PROCEDURAL HISTORY
                                                                5          On June 22, 2018, Movant filed the above-described action in the United States
                                                                6 District Court for the District of Nevada. See Interior Electric Incorporated Nevada v.

                                                                7 T.W.C. Construction, Inc. et al., Case No. 2:18-cv-01118-JAD-VCF (the “Nevada Action”).

                                                                8 On April 22, 2019, Movant filed its First Amended Complaint. See id., ECF No. 130. On

                                                                9 March 2, 2020, Movant filed its Second Amended Complaint (“SAC”). See id., ECF

                                                               10 No. 188. The SAC contains the claims outlined above, among others not relevant to this

                                                               11 Motion.
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                                                               12          On January 23, 2020, Movant served the Subpoenas to the Subpoenaed Parties,
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 commanding each of them to produce the following:
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14       1. Produce all texts you received from, or sent to, Matthew Ryba regarding Mark
                                                                           Beverly, Interior Electric, or any other person affiliated with Interior Electric.
                                                               15
                                                                        2. Produce all emails, including attachments, you received from, or sent to, Matthew
                                                               16          Ryba regarding Mark Beverly, Interior Electric, or any other person affiliated with
                                                               17          Interior Electric.

                                                               18       3. Produce all Documents and Communications you received from, or sent to, Matthew
                                                                           Ryba regarding Mark Beverly, Interior Electric, or any other person affiliated with
                                                               19          Interior Electric.
                                                               20       4. Produce all texts you received from, or sent to, any person affiliated with T.W.C.
                                                                           Construction, Inc., regarding Mark Beverly, Interior Electric, or any other person
                                                               21          affiliated with Interior Electric.
                                                               22
                                                                        5. Produce all emails, including attachments, you received from, or sent to, any person
                                                               23          affiliated with T.W.C. Construction, Inc., regarding Mark Beverly, Interior Electric,
                                                                           or any other person affiliated with Interior Electric.
                                                               24
                                                                        6. Produce all Documents and Communications you received from, or sent to, any
                                                               25          person affiliated with T.W.C. Construction, Inc., regarding Mark Beverly, Interior
                                                                           Electric, or any other person affiliated with Interior Electric.
                                                               26
                                                               27 See Exs. 1-1 and 1-2.

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                                                                1         After numerous email exchanges and telephone calls between Movant’s counsel and
                                                                2 S & S principal, Ralph Shelton, Esq. (“Mr. Shelton”), Mr. Shelton confirmed, on behalf of

                                                                3 the Subpoenaed Parties, that more responsive documents existed that were not produced,

                                                                4 that Mr. Shelton had those responsive documents in his possession, and that he intended to

                                                                5 produce them back in June or early July 2020. See Ex. 1 (Clement Decl.), at ¶¶ 10–11; see

                                                                6 also Ex. 2 (Jayne Decl.), at ¶¶ 10–11. At no time has either of the Subpoenaed Parties stated

                                                                7 any objection to the Subpoenas. See Ex. 1 (Clement Decl.), at ¶ 13; see also Ex. 2 (Jayne

                                                                8 Decl.), at ¶ 21.

                                                                9         The parties met and conferred by telephone and exchanged several follow-up emails,
                                                               10 but the Subpoenaed Parties have yet to produce another document to supplement Ms.

                                                               11 Beverly’s disclosure or to satisfy S & S’s obligations to comply with the Subpoena directed
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                                                               12 to it. Now before the Court is Movant’s Motion to Compel the Subpoenaed Parties’
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 compliance with the Subpoenas.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 III.    LEGAL ARGUMENT
                                                               15         The Subpoenaed Parties have acknowledged that they have additional documents
                                                               16 responsive the Subpoenas that they have not produced. Despite meeting and conferring, and

                                                               17 despite Mr. Shelton’s admission that responsive documents had been withheld and his

                                                               18 commitment to producing the same in a timely manner, Movant has been forced to bring the

                                                               19 instant Motion. Movant now respectfully requests that this Honorable Court grant this

                                                               20 Motion, compel the Subpoenaed Parties to produce all responsive documents in a timely

                                                               21 manner, and order the Subpoenaed Parties to pay Movant’s attorney fees incurred in having

                                                               22 to bring this Motion.

                                                               23         A.         THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                                                                     DISTRICT OF CALIFORNIA IS THE PROPER VENUE FOR THIS
                                                               24                    MOTION.
                                                               25         This District is the appropriate venue for a motion compelling the Subpoenaed
                                                               26 Parties to produce documents in response to the Subpoenas served by Movant.
                                                               27         Motions to enforce a subpoena must be brought in the district where compliance is
                                                               28 required. FRCP 45(d)(2)(B)(ii); Chambers v. Whirlpool Corp., No. SA CV 11-1733 FMO
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                                                                1 (JCGx), 2016 WL 9451360, at *3 (C.D. Cal. Aug. 12, 2016). Put another way, “the proper

                                                                2 district to hear a motion to compel is where [the Subpoenaed Parties are] headquartered.”

                                                                3 Europlay Capital Advisors, LLC v. Does, 323 F.R.D. 628, 629 (C.D. Cal. 2018) (citing

                                                                4 Music Grp. Macao Commercial Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 982, 984 (N.D.

                                                                5 Cal. 2015) (holding that there is “no question” that the proper district to hear a motion to

                                                                6 compel compliance with a Rule 45 nonparty subpoena is where the nonparty is

                                                                7 headquartered); AngioScore, Inc. v. TriReme Med., Inc., No. 12 CV 3393, 2014 WL

                                                                8 6706873, at *1 & n.1 (N.D. Cal. Nov. 25, 2014) (holding that a Rule 45 subpoena specifying

                                                                9 the place of compliance as more than 100 miles from nonparty’s headquarters was “invalid

                                                               10 on its face”); Procaps S.A. v. Patheon Inc., No. 12-24356-CIV, 2015 WL 1722481, at *3

                                                               11 (S.D. Fla. Apr. 15, 2015) (holding that district of compliance for Rule 45 subpoena is where
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                                                               12 nonparty corporation was headquartered)).
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                                                               13          Ms. Beverly and S & S were both served on January 23, 2020, with Ms. Beverly
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 served at her home in Rialto, California 92377, and S & S was served at its principal place

                                                               15 of business or “headquarters” in Newport Beach, California 92660. See Ex. 1 (Clement

                                                               16 Decl.), at ¶ 5; see also Ex. 1-3 (Affids. Of Serv.). Both Rialto and Newport Beach are

                                                               17 located in the United States District Court for the Central District of California.            See
                                                               18 generally https://www.uscourts.gov/federal-court-finder/search.

                                                               19          Therefore, this is the appropriate court to consider the instant Motion.
                                                               20          B.     THE SUBPOENAED PARTIES MUST PRODUCE ALL DOCUMENTS
                                                                                  RESPONSIVE TO THE SUBPOENAS BECAUSE THEY HAVE
                                                               21                 WAIVED ALL OBJECTIONS.
                                                               22          “Unless otherwise limited by court order, … [p]arties may obtain discovery
                                                               23 regarding any nonprivileged matter that is relevant to any party’s claim or defense.”

                                                               24 FRCP 26(b)(1). Of course, “[FRCP] 45 governs subpoenas duces tecum for the production

                                                               25 of documents with or without the taking of a deposition,” one of the purposes of which is “to

                                                               26 facilitate access outside the deposition procedure provided by Rule 30 to documents and
                                                               27 other information in the possession of persons who are not parties. … ” United States ex rel.

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                                                                1 Schwartz v. TRW, Inc., 211 F.R.D. 388, 392 (C.D. Cal. 2002) (citing Advisory Comm. Notes

                                                                2 to 1991 Am. of Rule 45).

                                                                3          “The non-party witness is subject to the same scope of discovery under [FRCP 45] as
                                                                4 that person would be as a party to whom a request is addressed pursuant to Rule 34,” which

                                                                5 requests apply to all “matters within the scope of Rule 26(b).” Id. (citing FRCP 34(a)).

                                                                6 “Under Rule 45, the nonparty served with the subpoena duces tecum must make objections

                                                                7 to it within 14 days after service or before the time for compliance, if less than 14 days.” Id.

                                                                8 (citing FRCP 45(c)(2)(B)).      The Subpoenaed Parties made no objections and, instead,
                                                                9 committed to producing documents they acknowledged having.

                                                               10          “Failure to serve timely objections waives all grounds for objection, including
                                                               11 privilege.” Id. (citing In re DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir. 1998)); see also
MARQUIS AURBACH COFFING




                                                               12 Safeco Ins. Co. of Am. v. Rawstrom, 183 F.R.D. 668, 671 (C.D. Cal. 1998) (“Objections not
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                                                               13 interposed in a timely initial response may not be held in reserve and interposed after the
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 period allowed for response … ”); Moon v. SCP Pool Corp., 232 F.R.D. 633, 636 (C.D. Cal.

                                                               15 2005) (“A nonparty’s failure to timely make objections to a Rule 45 subpoena duces tecum

                                                               16 generally requires the court to find that any objections have been waived.”) (citing In re DG

                                                               17 Acquisition Corp., 151 F.3d 75, 81 (2d Cir.1998); Creative Gifts, Inc. v. UFO, 183 F.R.D.

                                                               18 568, 570 (D.N.M. 1998); Schwarzer, Tashima & Wagstaffe, California Practice Guide:

                                                               19 Federal Civil Procedure Before Trial, § 11:2293 (2005 rev.)). If a subpoenaed party fails to

                                                               20 comply, “[a]t any time, on notice to the commanded person, the serving party may move the

                                                               21 court for the district where compliance is required for an order compelling production … ”

                                                               22 FRCP 45(d)(2)(B)(i). Movant so moves for an order compelling production.

                                                               23          The Subpoenaed Parties were duly served with valid Subpoenas on January 23,
                                                               24 2020.    See Ex. 1 (Clement Decl.), at ¶¶ 5 & 7; see also Ex. 1-3 (Affids. Of Serv.).
                                                               25 Moreover, the Subpoenas comply with the 100-mile limit contained in FRCP 45 because

                                                               26 they do not require travel of more than 100 miles and, in fact, allow production by either of
                                                               27 two options: via email or via delivery to a court reporting company in Irvine, California,

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                                                                1 which is well within 100 miles for both of the Subpoenaed Parties. See Ex. 1 (Clement

                                                                2 Decl.), at ¶ 5; see also Exs. 1-1 and 1-2. Thus, the Subpoenas are valid.

                                                                3          Now, the Subpoenaed Parties, having (1) been duly served, (2) admitted to
                                                                4 possessing responsive documents that have not been produced, (3) been given substantial

                                                                5 time to comply and produce, and (4) continued to refuse or ignore requests for production

                                                                6 without any excuse, let alone adequate excuse, must be compelled to comply. See Poly-Med

                                                                7 Novus Sci. PTE Ltd., No. 17-CV-649-DMS-WVG, 2017 WL 2291942, at *2 (S.D. Cal. May

                                                                8 25, 2017) (granting motion to compel after subpoenaed party made no objections, requested

                                                                9 additional time, had five months pass, and still did not produce responsive documents).

                                                               10          Therefore, Movant respectfully requests that this Honorable Court so order and
                                                               11 compel the Subpoenaed Parties’ compliance and production forthwith.
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                                                               12          C.      THE SUBPOENAED PARTIES MUST EXECUTE THE RESPECTIVE
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                   AFFIDAVITS OF CUSTODIAN OF RECORD TO AUTHENTICATE
                                                               13                  THE DOCUMENTS THEY PRODUCE.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14          The Subpoenaed Parties must sign, and return with their respective responses to the
                                                               15 Subpoenas, the Affidavits of Custodian of Records or otherwise be required to bear the

                                                               16 expenses to themselves and to Movant of conducting their respective depositions to

                                                               17 authenticate the same due to their unreasonable refusal to execute the Affidavits. See Fed.

                                                               18 R. Evid. 902(11) (allowing authentication of records of a regularly conducted activity by

                                                               19 certification of the custodian); Fed. R. Evid. 803(6) (excepting from hearsay exclusion

                                                               20 records of a regularly conducted activity based on requirements provided in the affidavit of a

                                                               21 custodian); FRCP 26(g)(1)(A) (“Every … discovery … response … must be signed … by

                                                               22 the party personally, if unrepresented—and must state the signer’s address, e-mail address,

                                                               23 and telephone number. By signing, an attorney or party certifies that to the best of the

                                                               24 person’s knowledge, information, and belief formed after a reasonable inquiry … with

                                                               25 respect to a disclosure, it is complete and correct as of the time it is made.”).

                                                               26          Therefore, Movant respectfully requests that the Court’s anticipated order further
                                                               27 command that the Subpoenaed Parties both execute the Affidavits of Custodian of Record

                                                               28 that accompanied each of the Subpoenas.
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                                                                1          D.     MOVANT SHOULD BE AWARDED ITS ATTORNEYS’ FEES.
                                                                2          “A subpoena duces tecum is itself a court order, and noncompliance may warrant
                                                                3 contempt sanctions. A contempt charge against a nonparty may be either of a criminal or a

                                                                4 civil nature.” Poly-Med, 2017 WL 2291942, at *2 (citing Pennwalt Corp. v. Durand-

                                                                5 Wayland, Inc., 708 F.2d 492, 494 n. 5 (9th Cir. 1983)) (alteration omitted); see also FRCP

                                                                6 45(g) (“The court for the district where compliance is required—and also, after a motion is

                                                                7 transferred, the issuing court—may hold in contempt a person who, having been served,

                                                                8 fails without adequate excuse to obey the subpoena or an order related to it.”).

                                                                9          While criminal contempt is meant “to punish past defiance of a court’s judicial
                                                               10 authority,” civil contempt is intended to “compel obedience with a court order, or to

                                                               11 compensate the contemnor’s adversary for the injuries resulting from the non-compliance.”
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                                                               12 Poly-Med, 2017 WL 2291942, at *3 (quoting Falstaff Brewing Corp. v. Miller Brewing Co.,
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 702 F.2d 770, 778 (9th Cir. 1983)) (emphasis added); see also LR 37-4 (“The failure of any
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                                  10001 Park Run Drive




                                                               14 counsel to comply with or cooperate in the foregoing procedures may result in the

                                                               15 imposition of sanctions.”); LR 83-7(b) (“The violation of or failure to conform to any of

                                                               16 these Local Rules may subject the offending party or counsel to … the imposition of costs

                                                               17 and attorneys’ fees to opposing counsel, if the Court finds that the conduct rises to the level

                                                               18 of bad faith and/or a willful disobedience of a court order … ”).

                                                               19          “In a civil contempt action, the moving party has the burden of showing by clear and
                                                               20 convincing evidence that the contemnors violated a specific and definite order of the court.”

                                                               21 Fed. Trade Comm’n v. Enforma Nat. Prod., Inc., 362 F.3d 1204, 1211 (9th Cir. 2004)

                                                               22 (alterations and internal quotation marks omitted).         “The burden then shifts to the
                                                               23 contemnors to demonstrate why they were unable to comply.” Id.

                                                               24          In order for the Subpoenaed Parties “[t]o satisfy this burden [they are] required to
                                                               25 show ‘categorically and in detail’ why they were unable to comply … ” Donovan v.

                                                               26 Mazzola, 716 F.2d 1226, 1240 (9th Cir. 1983); see also Poly-Med, 2017 WL 2291942, at *3
                                                               27 (citing Donovan). Here, the Subpoenaed Parties simply cannot meet that burden when they

                                                               28 have acknowledged and committed to producing, over months of communications, several
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                                                                1 responsive documents that are known to exist but which they have continued to withhold.

                                                                2 See generally Ex. 1 (Clement Decl.) (outlining efforts to obtain complete responses from the

                                                                3 Subpoenaed Parties); Ex. 2 (Jayne Decl.) (same). Not only have the Subpoenaed Parties

                                                                4 wasted significant time, they have cost Movant thousands of dollars in attorneys’ fees in

                                                                5 attempting, in good faith, to resolve these issues without judicial intervention.

                                                                6          Therefore, Movant respectfully requests that it be awarded its attorney fees and costs
                                                                7 as a civil contempt sanction, against the Subpoenaed Parties, under FRCP 45(g). Movant

                                                                8 intends to supplement this Motion to prove up the amount of its attorney fees should the

                                                                9 Court decide that Movant is so entitled.

                                                               10 IV.      CONCLUSION
                                                               11          For the foregoing reasons, Movant respectfully requests that this Court enter an order
MARQUIS AURBACH COFFING




                                                               12 compelling the Subpoenaed Parties to immediately produce all responsive documents in
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 their possession, custody, or control and awarding Movant its reasonable attorneys’ fees
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 incurred in attempting to resolve this dispute and, ultimately, being forced to bring the

                                                               15 instant Motion. Movant requests an opportunity to supplement to prove up its attorney fees

                                                               16 if this Motion is granted and the Court determines that Movant is entitled to fees.

                                                               17          Dated this 6th day of October, 2020.
                                                               18                                                 Respectfully submitted
                                                               19
                                                                                                                  By /s/ Chad F. Clement
                                                               20                                                    Chad F. Clement, Esq. (CA SBN 271161)
                                                                                                                     MARQUIS AURBACH COFFING
                                                               21                                                    10001 Park Run Drive
                                                                                                                     Las Vegas, Nevada 89145
                                                               22                                                    Attorneys for Movant Interior Electric
                                                                                                                     Incorporated Nevada
                                                               23

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                                                                1                                CERTIFICATE OF SERVICE
                                                                2          I hereby certify that I electronically filed the foregoing MOVANT INTERIOR
                                                                3 ELECTRIC INCORPORATED NEVADA’S NOTICE OF MOTION AND MOTION

                                                                4 TO COMPEL COMPLIANCE WITH RULE 45 SUBPOENAS DUCES TECUM AND

                                                                5 FOR ATTORNEY FEES; MEMORANDUM OF POINTS AND AUTHORITIES with

                                                                6 the Clerk of the Court for the United States District Court by using the court’s CM/ECF

                                                                7 system on the 6th day of October, 2020.

                                                                8                 I further certify that some of the participants in the case are not registered
                                                                9 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

                                                               10 or have dispatched it to a third party commercial carrier for delivery within 3 calendar days

                                                               11 to the following non-CM/ECF participants:
MARQUIS AURBACH COFFING




                                                               12
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                             Schiff & Shelton, Attorneys at Law, and
                                                               13                                       Melinda Beverly
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                                                                     c/o Ralph Shelton, Esq.
                                                               14                                3400 Campus Drive, Suite 202
                                                                                                    Newport Beach, CA 92660
                                                               15
                                                                                      Attorney for the Subpoenaed Parties, Schiff & Shelton,
                                                               16                            Attorneys at Law, and Melinda Beverly
                                                               17

                                                               18                                               /s/ Lennie Fraga
                                                                                                                Lennie Fraga, an employee of
                                                               19                                               Marquis Aurbach Coffing
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